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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 UNITED STATES OF AMERICA,                                    :
                                              Plaintiff,      :   18 Crim. 340 (LGS)
                                                              :
                            -against-                         :        ORDER
                                                              :
 SOHRAB SHARMA et al.,                                        :
                                              Defendants. :
                                                              :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, a conference was held on November 19, 2021, to discuss the ancillary

proceedings in this action. For the reasons stated during the conference, it is hereby

        ORDERED that the Claimants and the Government shall file their submissions in

connection with Claimants’ motion for leave to amend the Amended Third-Party Petition

according to the following schedule:

    •   By December 8, 2021, Claimants shall file their motion for leave to amend and

        memorandum of law in support of the motion, not to exceed 25 pages;

    •   By January 5, 2022, the Government shall file any opposition, not to exceed 25 pages;

        and

    •   By January 14, 2022, Claimants shall file any reply in support of their motion, not to

        exceed 10 pages.

It is further

        ORDERED that the briefing schedule for the Government’s proposed motion to dismiss

(Dkt. No. 521) is no longer in effect.

Dated: November 19, 2021
       New York, New York
